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Realty Operating Partnership, L.P.


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
                                                                :
In re:                                                          :
                                                                : Chapter 11
96 WYTHE ACQUISITION LLC,                                       :
                                                                : Case No. 21-22108 (RDD)
                                    Debtor.                     :
                                                                :
-------------------------------------------------------------- X

   BENEFIT STREET’S STATEMENT AND RESERVATION OF RIGHTS WITH
  RESPECT TO THE DEBTOR’S FIRST REQUEST TO EXTEND THE EXCLUSIVE
PERIODS TO FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

        Benefit Street Partners Realty Operating Partnership, L.P.1 (“Benefit Street” or the

“Lender”), a secured creditor in these proceedings, files this statement and reservation of rights

with respect to the Debtor’s Motion to Extend Exclusivity [ECF No. 51] (the “Motion”) and

respectfully states as follows:

                                                BACKGROUND

        1.      Benefit Street is a real estate investment trust focused on originating and managing

a diversified portfolio of commercial real estate investments.               Its investors comprise both


1
 Benefit Street is a wholly-owned subsidiary of Franklin Resources, Inc. (NYSE: BEN), a company that, together
with its subsidiaries, has approximately USD $1.5 trillion in assets under management and operates as Franklin
Templeton.
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institutions and retail investors. As an affiliate of the fifth largest asset manager in the world,

Benefit Street is not a predatory lender and does not make “loan-to-own” investments. In fact, out

of the over 400 real estate loans (worth over $8 billion) Benefit Street has made over the past

several years under current management, it has had to foreclose on only two investments. And

during the same operating period, Benefit Street has experienced only one borrower filing for

bankruptcy – 96 Wythe Acquisition LLC.2 Benefit Street’s focus as a provider of real estate

financing is always simply on recovering its debt – which, of course, in this particular case, is now

over two years past maturity.

         2.       The Williamsburg Hotel opened in December 2016, with certain work remaining

to finish the project.         In December 2017, Benefit Street made an 18-month, $68 million

construction completion loan to the Debtor secured by all of the Debtor’s assets. The Debtor failed

to complete required construction work under the loan (causing the interest rate to increase) and

defaulted in making debt service payments to Benefit Street in December 2018, necessitating the

mezzanine lender to make such payments instead. The loan subsequently matured in June 2019,

nine months before the pandemic, with the Debtor having made no payments itself since December

2018 (a full 15 months before the pandemic). In the more than two years since the June 2019

maturity, Benefit Street has received no payments at all even though the Debtor has continued to

use its cash collateral to sustain ongoing operations. Nor is Benefit Street aware of any post-loan

maturity, prepetition process to sell the underlying hotel as a going concern or refinance the debt.

         3.       Now, after nearly five months in bankruptcy, the Debtor seeks to extend the periods

during which it has the exclusive right to file and solicit a chapter 11 plan by 120 days through



2
 Although the Debtor is the only borrower of Benefit Street’s to file bankruptcy, in the past 12 months alone at least
2 additional affiliates of the Debtor have been subject to real estate foreclosure lawsuits due to maturity defaults under
secured mortgage loans and have filed bankruptcy in this Court in an effort to stave off such foreclosures.


                                                            2
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October 21, 2021 and December 20, 2021, respectively. Although Benefit Street has significant

concerns about the progress of this case and, frankly the intentions of the Debtor, for purposes of

the instant requested extension, it is not objecting to that relief but believes that, during this

extension period, there must be better communication between the Debtor and Benefit Street and

the Debtor must take tangible steps forward towards an exit from this case. This Statement

explains several of Benefit Street’s concerns so that they can be addressed to allow this case to

advance towards an exit.

                                               STATEMENT

           4.       This case is not exceptionally large or complex. While it involves an operating

business, that business consists of a single operating location which generates less than $10 million

in annual revenue and has somewhat more than 100 employees. The Debtor has one secured lender

and its capital structure is straightforward. While the Debtor has scheduled a number of unsecured

claims, the secured lender is the only creditor actively participating in the case.

           5.       The case has been pending for almost five months. The Debtor has a large

accounting staff (given the size of its operations) that has prepared and filed schedules and, after

some initial problems, has generated agreed reporting of operating results for the last two months.

The Debtor, however, has made little appreciable progress towards a reorganization or other exit

from chapter 11 as a going concern. For example, six weeks ago, the Debtor informed the Court

that it was interviewing financial professionals, but has yet to select and finalize an agreement with

an advisor or file a motion to retain one.3 As a result, a few short months from the fall seasonal

downturn, the Debtor has not even begun to approach the market to explore any type of potential

exit transaction, let alone formulated a proposed plan or begun plan discussions with Benefit Street



3
    See June 2, 2021 Hr’g Tr. at 3:1-18.


                                                     3
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– its single largest creditor and the only active economic constituent in this case. The Debtor has,

moreover, used the delays in hiring a broker or banker advisor to avoid negotiating milestones or

a timeline for the progress of the case. See Motion at 9.

        6.       At the same time the Debtor delays in developing and negotiating restructuring

options, its business is underperforming its competitors and failing to pay significant operating

expenses. Where, last year, the Debtor’s revenue per available room (RevPAR) exceeded its

competitors’, according to the most recent information it has provided to Benefit Street, in May

2021, its RevPAR lagged its competitors’ by 14%. See Ex. A.4 Over the preceding 12-, 5-, and

3- month periods, moreover, its RevPAR has declined consistently, a fact that appears to stem

from occupancy rates that have not recovered from the 2020 industry lows at the same rate as its

competitors. See id. These disappointing results are consistent with the operating history of a

hotel that opened in late 2016, and was already unable to pay its debt service a full 15 months

before the pandemic even began, or repay its mortgage at maturity – again, before the pandemic.

        7.       In bankruptcy, the Debtor’s earnings have been underwhelming. Through the first

week of June (the most recent actual numbers the Debtor’s accounting staff has provided), the

Debtor had generated slightly less than $115,000 in aggregate EBITDA. At the same time, the

Debtor has failed to pay critical operating expenses. Almost $600,000 in real estate taxes – an

amount almost five times larger than their postpetition EBITDA – fell due on July 1, 2021, but the

Debtor did not pay it. Instead, the Debtor sought a payment plan from the City for those taxes, as

well as the approximately $3.4 million in additional real estate taxes, interest and other charges

that the Debtor had not paid prepetition. This payment plan provides for the continued accrual of



4
 STR Reports are generated by a third party market analyst and compare the hotel’s performance to those of its
competitors. The May 2021 STR Report, attached as Exhibit A, was provided by the Debtor as part of its agreed cash
collateral reporting.


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18% interest on the unpaid amounts. The monthly accrual of interest under this payment plan –

running at essentially credit card rates – would be approximately $59,000 – or about half the actual

EBITDA the Debtor has reported in this case. In short, heading into the summer months, the

Debtor is nowhere near profitable (or even breaking even before the payment of debt service) and,

in bankruptcy, is subjecting its assets to substantial additional secured claims.5

         8.       Although the Debtor asserts that it is cooperating with Benefit Street, its actions

belie its claim. While the Debtor’s advisors have scheduled weekly calls with Benefit Street (at

the Court’s direction), they have nonetheless cancelled several. While Benefit Street is able to ask

questions of the Debtor’s CRO and counsel on those calls, the Debtor’s advisors seldom provide

substantive answers, deferring to others not present with whom they say they need to consult. For

example, on June 3, the day after the Debtor unveiled the notion of entering a payment plan with

the City to the Court at a cash collateral hearing, Benefit Street asked questions concerning the

status of the Debtor’s negotiations and the terms of the proposed payment plan, and requested

copies of communications with the City. (This payment plan and the unpaid taxes generally have

an obvious and material impact upon the lender’s collateral). The Debtor’s representatives were

unable to answer questions on the call, but promised responses after speaking with their consultant.

On a call on June 15, almost two weeks later, the Debtor’s advisors still could not answer questions

about the tax payment plan or appeal, but promised a call the following day between Benefit Street

and the Debtor’s tax consultant. They did not, however, arrange such a call the following day or

any time thereafter. Two weeks later, on a call with Benefit Street on June 30, the Debtor’s




5
 In the recent discovery dispute concerning the prepetition Paycheck Protection Program (“PPP”) loan, the Debtor’s
counsel claimed that the Debtor generated close to $2 million in revenues in June. See ECF No. 66 at 2. Even if true
– and it is very frustrating to see the Debtor relying on June financial results to obtain a litigation advantage when it
has not reported those results to its creditors – it remains to be seen whether the EBITDA generated from this revenue
equals or exceeds the monthly accrual of interest on the unpaid taxes.


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advisors again deflected responses to questions regarding the unpaid taxes.

         9.       From the first day hearing, Benefit Street has raised concerns about the substantial

unpaid prepetition real estate taxes as well as the postpetition taxes. Despite being asked

repeatedly during the five weeks after the June 2 cash collateral hearing for a copy of the draft

payment plan agreement it was negotiating with the City, the Debtor produced nothing until July

7, when it provided a final, signed agreement with the City dated two weeks earlier, on June 23.

Several aspects of this agreement were notable. First, the agreement did not suspend the accrual

of interest on the amounts due, which instead continues to accrue at 18%, compounded daily, until

paid. Second, all the City appears to have agreed to do in return is not sell its tax liens, a trivial

commitment because the automatic stay already prevents foreclosure. Third, the agreement calls

for semi-annual payments in the amount of $443,201.41. This payment exceeds the $10,000

weekly accrual for real estate taxes in the Debtor’s cash collateral budget by some 70%. Fourth,

by its terms, the agreement provides for the Debtor to pay substantial prepetition claims on an

administrative basis, but the Debtor has not presented it to the Court for approval on notice to

creditors.6 At a minimum, all of this underscores the lender’s ongoing concern over lack of

transparency and communication between the Debtor and Benefit Street.

         10.      These concerns were reinforced by the recent discovery in connection with the

Receiver’s motion. There, the Debtor initially refused to provide any documents to Benefit Street

and, thereafter, has turned over only those documents the Court has directed it to produce. Even

then, it has delayed and provided only the narrowest possible group of documents. As a result,




6
  In addition, the Debtor provided documentation concerning its effort to challenge the real property tax assessment
for the hotel. In 2020-21, the hotel had an assessed value of $18,202,500. For 2021-22, the City reduced that assessed
value to $11,216,700. The Debtor recently filed an application to have that assessment further reduced based on what
it said was a market value of $3,735,000 – almost five times less than its 2020-21 assessment. Given the Debtor’s
contention that Benefit Street enjoys a significant equity cushion, this position was surprising, to say the least.


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Benefit Street has discovered in stages that (i) its cash collateral is held in accounts in the name of

the non-debtor Hotel Manager, not the Debtor, (ii) during the receivership, the Hotel Manager

received and transferred almost $1.6 million to unidentified non-debtor accounts, (iii) these

amounts were the proceeds of unspecified “government loans”, (iv) the unspecified “government

loans” were, in fact, made under the Paycheck Protection Program and similar programs, and (v)

the workforce on which the Hotel Manager based its application for the $1.438 million PPP loan

matches the number of the Debtor’s employees.7                     Even after being forced to make these

disclosures, the Debtor still refuses to produce the actual employee data it supplied to the bank that

made the loan. While Benefit Street will be forced to request the Court to address this refusal at a

forthcoming discovery conference, the Debtor’s actions present two possibilities: (1) the Hotel

Manager obtained the loans based on some business other than the Debtor’s, but inexplicably

refuses to produce the documents that would establish that fact; or (2) the Hotel Manager obtained

funds to pay the Debtor’s workforce from PPP and other programs but did not use the loan

proceeds for that purpose, instead, allowing the Receiver to pay the Debtor’s employees out of

Benefit Street’s cash collateral and leaving insufficient cash to pay millions of dollars in real

property taxes. Neither explanation builds confidence in the Debtor’s management or candor with

its stakeholders. It also raises significant concerns over compliance with the PPP rules and CARES

Act.

         11.      Although these facts raise substantial questions about whether the Debtor has made

“good faith progress towards reorganization” as required by In re Adelphia Commc’ns Corp., 352




7
 Under Benefit Street’s loan agreement, the Debtor was obligated to get Benefit Street’s consent before obtaining any
such government loan, but did not do so. Moreover, the Debtor’s entry into the PPP loan violated the New York state
court order appointing the receiver, which prohibited the Debtor from entering into contracts that are not voidable on
30 days’ notice. See Order Appointing a Receiver in a Non-Residential Mortgage Foreclosure Action [ECF No. 29-
4].


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B.R. 578, 587 (Bankr. S.D.N.Y. 2006), and also cast doubt on the Debtor’s ability to satisfy the

remaining Adelphia factors, Benefit Street does not oppose an extension of exclusivity at this point.

As discussed above, Benefit Street’s interest is in the repayment of its debt. But if the Debtor is

going to receive the benefit of additional time in bankruptcy to seek to facilitate an exit, Benefit

Street believes the Debtor must promptly retain an acceptable broker and/or banker with a broad

mandate to implement an exit, including all options such as a sale of its assets. Shortly thereafter,

it must launch a robust marketing process tied to express milestones, all while coordinating with

Benefit Street about restructuring options.

        12.    In light of the Debtor’s disappointing postpetition operating performance (even

taking into account the reopening of the country post-pandemic) and lack of transparency or

substantive communications, such milestones are necessary to ensure that the parties will not find

themselves eight months into the case, with continued declining revenues and no viable plan of

reorganization or other exit. Of course, if the Debtor fails to implement a timely marketing process

or its operations deteriorate, Benefit Street reserves the right to seek to terminate exclusivity and

proceed with a court-approved process to sell the business as a going concern for the benefit of all

creditors.

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Dated: July 13, 2021
       New York, New York
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                           EXHIBIT A
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                                                     My Prop               % Chg               Comp Set               % Chg              Index (MPI)             % Chg
Occupancy                        Current Month        60.0                 -30.1                 68.6                  0.0                  87.5                  0.0
                                 Year To Date          58.0                  47.8                 48.6                 -2.9                 119.4                 52.2
                              Running 3 Month          58.1                  52.2                 56.1                  0.0                 103.7                  0.0
                             Running 12 Month          54.5                  -2.9                 38.7                 -47.0                140.8                 83.3


                                                     My Prop               % Chg               Comp Set               % Chg              Index (ARI)             % Chg
ADR                              Current Month        301.73               112.8                306.50                 0.0                  98.4                  0.0
                                 Year To Date         225.75                 15.2                262.17                19.1                  86.1                 -3.2
                              Running 3 Month         252.06                 54.1                273.13                 0.0                  92.3                  0.0
                             Running 12 Month         221.59                -28.6                260.09                -12.4                 85.2                 -18.5


                                                     My Prop               % Chg               Comp Set               % Chg              Index (RGI)             % Chg
RevPAR                           Current Month        180.96                48.9                210.11                 0.0                  86.1                  0.0
                                 Year To Date         130.90                 70.4                127.31                15.6                 102.8                 47.3
                              Running 3 Month         146.55                134.4                153.10                0.0                   95.7                 0.0
                             Running 12 Month         120.73                -30.7                100.67                -53.6                119.9                 49.3




                       Date Selection                                                                      2021-05
                     Property Selection                                                                     64468
                         Currency                                                                            USD
                          Report                                                                       Monthly dSTAR
                     Industry Segment                                                 East River-Queens/Brooklyn West, NY Independents
                         Comp Set                                                                       1 (Excludes)

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